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lN THE UNITED STATES DISTRICT COURT HLED gy @
FOR THE WESTERN DISTRICT OF TENNESSEE ""“~ _ D_c_
WESTERN DIVISION

 

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. 04-20361-M1

NEGASSI DEJUAN RICHARDSON

Defendant (S)

-._.--._u~._¢\-..¢»,»~._;Vv~_/~_»~._/~._/

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DE]'_LAY

 

This cause was set for a Suppression Hearing on Friday, September
2, 2005 at 9:30 A.M. Counsel for the government requested a continuance
of the present setting. The continuance is necessary to allow for
additional preparation in the case.

The Court granted the request and continued the matter for a
Suppression Hearing and Report Date to Friday, November 4, 2005 at 2:30
P.M. with a trial date of Monday, November 7, 2005.

The period from October 14, 2005 through November 18, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow government
counsel additional time to prepare.

IT IS SO ORDERED this the day Of August, 2005.

MQQ

JON HIPPS MCCALL.A
D STATES DISTRICT J'UDGE

  
 

 

T'nts document entered on the docket sheet In cemp||ance \_§éj

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Notice of Distribution

This notice confirms a copy of the document docketed as number 56 in
case 2:04-CR-20361 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

